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                    UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF WISCONSIN
______________________________________________________________________

JEREMY GUSLOFF,

             Plaintiff,

      v.                                                       Case No. 21-cv-662

QUINCY BIOSCIENCE HOLDING COMPANY, INC.

             Defendant.


                   DISCLOSURE OF CORPORATE AFFILIATIONS
                          AND FINANCIAL INTEREST



I, the undersigned counsel of record for Quincy Bioscience Holding Company, Inc.,

make the following disclosure:


1.    Is said party a subsidiary or affiliate of a publicly owned corporation?

              YES        √ NO

      If the answer is YES, list below and identify the parent corporation or affiliate and
      the relationship between it and the named party:



2.    Is there a publicly owned corporation, not a party to this case, that has a financial
      interest in the outcome?

            YES          √ NO

      If the answer is YES, list the identity of such corporation and the nature of the
      financial interest to the named party:




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      Dated: December 10, 2021.
                                       LINDNER & MARSACK, S.C.,

                                       /s/ Sally A. Piefer
                                       Sally A. Piefer
                                       Wisconsin Bar No. 1023257
                                       Attorneys for Quincy        Bioscience
                                       Holding Company, Inc.

LINDNER & MARSACK, S.C.
411 E. Wisconsin Ave., Suite1800
Milwaukee, WI 53202-4498
Direct: 414-226-4818
Phone: 414-273-3910
Facsimile: 414-298-9873
spiefer@lindner-marsack.com




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                              CERTIFICATE OF SERVICE


I hereby certify that I served the foregoing as indicated below on:

                                        David C. Zoeller
                                         Aaron J. Bibb
                                     Hawks Quindel, S.C.
                                        P.O. Box 2155
                                      Madison, WI 53701
                                  Attorneys for Plaintiffs

       Electronic Filing via the CM/ECF System

    Fax and Mail: by faxing to the attorney at the fax number as stated above, which
     is the last-known fax number for the attorney’s office, on the date set forth below;
     and by mailing a full, true and correct copy in a sealed envelope with postage
     prepaid thereon, addressed as stated above, which is the last known address of
     the attorney, and depositing it with the United States Postal Service at
     Milwaukee, Wisconsin, on the date set forth below.

    Email: by causing a full, true and correct copy thereof to be transmitted to the
     attorney in .pdf format via electronic correspondence to the attorney’s last-known
     email address.


Signed: December 10, 2021.

                                             LINDNER & MARSACK, S.C.,

                                             /s/ Sally A. Piefer
                                             Sally A. Piefer




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